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                         Exhibit 1
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                  SETTLEMENT AGREEMENT AND GENERAL RELEASE

          This Settlement Agreement and Release (“Agreement ”) is entered into among Nationwide
  Children’ s Hospital (“NCH”) and Natalie Morris, Sean Hannon, and Abby Studer (“Plaintiffs”)
  (collectively, the “ Parties”).

                                              RECITALS

         WHEREAS, on June 24, 2020, Natalie Morris filed a Collective and Class Action
  Complaint in a lawsuit captioned Morris, et al. v. Nationwide Children ’s Hospital, Case No. 2:20-
  cv-03194 (S.D. Ohio) ( hereafter, the “ Lawsuit”) alleging wage and hour claims under the Fair
  Labor Standards Act (“ FLSA”), the Ohio Fair Minimum Wage Standards Act (“OFMWSA”), and
  the Ohio Prompt Pay Act (“OPPA”) (collectively, the “Wage Claims”);

           WHEREAS, NCH denies any liability or wrongdoing of any kind;

         WHEREAS, in consideration of the risk and expense of litigation , the Parties have agreed
  to compromise their respective positions by entering into this Agreement;

          WHEREAS, by this Agreement, the Parties intend to resolve, with complete and utter
  finality, all Wage Claims in the Lawsuit, asserted and/or unasserted, between the Parties based
  upon the Parties’ conduct through the date of this Agreement;

          WHEREAS, the Parties intend to submit the settlement terms embodied in this Agreement
  to the United States District Court for the Southern District of Ohio, Eastern Division, for approval
  of the settlement, including its fairness and reasonableness; and

          WHEREAS, the Parties understand and agree that if this Court does not approve the
  settlement and find it to be fair and reasonable, that this Agreement shall be null and void and of
  no effect whatsoever.

          NOW, THEREFORE, in consideration of the mutual agreements set forth herein, the
  Parties agree as follows:

           1.     Court Approval of Settlement. This Agreement reflects settlement terms agreed
  upon by all Parties with the advice of their legal counsel. However, all Parties and counsel
  understand that this Agreement shall only be biding and effective if it is approved by the Court in
  which the Lawsuit is pending, and if such Court holds that the terms of such Agreement are fair
  and reasonable. Within 15 business days following execution of this Agreement by the Plaintiffs
  and NCH, counsel for the Parties agree to submit this Agreement to the Court along with a request
  for approval of the settlement terms set forth in the Agreement. If the Court declines to approve
  all the settlement terms in this Agreement and/or declines to find some or all such terms to be fair
  and reasonable, then this Agreement shall be null and void .




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          2.       Release. Except as set forth below, Plaintiffs, on behalf of themselves and their
  agents, representatives, heirs, successors, assigns and attorneys, hereby unconditionally release,
  acquit, and forever discharge any right or claim, known or unknown, that Plaintiffs may have
  related to the Lawsuit and/or the Wage Claims that were brought or could have been brought in
  the Lawsuit filed against NCH or its current or former parents, affiliates, subsidiaries,
  predecessors, successors, assigns, officers, directors, members, Plaintiffs, agents, insurers,
  attorneys or representatives ( collectively “Releasees”), on or at any time prior to the date Plaintiffs
  execute this Agreement. The release set forth herein is not intended to waive or release any right
  or claim that may arise: (a) from events occurring after Plaintiffs execute this Agreement; (b) any
  right Plaintiffs have to a vested benefit under any welfare, benefit, or retirement plan sponsored
  by NCH, subject to the terms of the applicable plan and as may be amended from time-to- time by
  NCH in accordance with applicable law; or (c) from any right, which by express terms of law, may
  not, under any circumstances, be waived , released , or extinguished . Plaintiffs understand that this
  release does not prohibit Plaintiffs from filing an administrative charge with the EEOC or Ohio
  Civil Rights Commission. However, by signing this Agreement, Plaintiffs will have waived any
  right that Plaintiffs had to bring a lawsuit or obtain a recovery if an administrative agency pursues
  a claim against NCH or any of the other Releasees based on any actions taken by NCH or any of
  the other Releasees up to the date of the signing of this Agreement .

          3.     Waiver. Plaintiffs agree that this is a knowing and voluntary waiver of all waivable
  claims under federal and Ohio wage statutes for damages which exist as of the date Plaintiffs
  execute this Agreement, but of which Plaintiffs do not now know or suspect to exist, whether
  through ignorance, oversight, error, negligence, or otherwise, and which, if known, would
  materially affect Plaintiffs’ decision to enter into this Agreement. Plaintiffs further accept the
  benefits conferred to Plaintiffs in Paragraph 5 of this Agreement as a complete compromise of
  matters involving disputed issues of law and fact, and Plaintiffs have assumed the risk that the
  facts and law may be other than Plaintiffs believe.

          4.     Plaintiffs’ Representations. Plaintiffs represent and agree that: (a) other than the
  Lawsuit , Plaintiffs have not filed any complaints or charges against NCH or any of the other
  Releasees with any federal, state, or local agency or court; (b) Plaintiffs have not heretofore
  assigned or transferred, or purported to assign or transfer, to any person or entity, any right to
  assert any claim against NCH or any of the Releasees; and (c) Plaintiffs have not suffered any
  work-related injuries while employed at NCH prior to the execution of this Agreement.

         5.      Consideration. In consideration for Plaintiffs timely signing this Agreement and
  agreeing to the commitments herein, NCH agrees to pay Plaintiffs the total gross amount of Fifty-
  Three Thousand and Six Dollars and Forty Cents ($53,006.40) (“Gross Settlement Amount”). The
  Gross Settlement Amount includes all amounts to be paid by NCH under this Agreement,
  including, without limitation, settlement payments to Plaintiffs, attorneys’ fees, litigation costs,
  and employer taxes on the settlement payments. The Gross Settlement Amount is the maximum
  amount that NCH is obligated to pay under this Agreement. In no event shall NCH be required to
  pay more than the Gross Settlement Amount in complete satisfaction of all its obligations under
  this Agreement. The Gross Settlement Amount shall be paid as follows:



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                (a) One check made payable to Natalie Morris for alleged lost wages in the gross
                    amount of Seven Thousand Eight Hundred Twenty-Two Dollars and Thirty-Nine
                    Cents ($7,822.39), such payment subject to all applicable legal deductions and
                    withholdings on the date of payment, and for which an IRS Form W-2 shall be
                    issued to Morris;

                (b) One check made payable to Natalie Morris for alleged liquidated damages in the
                    amount of Two Thousand Four Hundred Twenty-Four Dollars and Ninety-Four
                    Cents ($2,424.94), for which an IRS Form 1099 shall be issued to Morris;

                (c) One check made payable to Sean Hannon for alleged lost wages in the gross
                    amount of Seven Thousand Four Hundred Eighty-Nine Dollars and Twenty-Nine
                    Cents ($7,489.29), such payment subject to all applicable legal deductions and
                    withholdings on the date of payment, and for which an IRS Form W-2 shall be
                    issued to Hannon;

                (d) One check made payable to Sean Hannon for alleged liquidated damages in the
                    amount of Two Thousand Three Hundred Twenty-One Dollars and Sixty-Eight
                    Cents ($2,321.68), for which an IRS Form 1099 shall be issued to Hannon;

                (e) One check made payable to Abby Studer for alleged lost wages in the gross
                    amount of Three Thousand Two Hundred Sixteen Dollars and Seventy Cents
                    ($3,216.70), such payment subject to all applicable legal deductions and
                    withholdings on the date of payment, and for which an IRS Form W-2 shall be
                    issued to Studer;

                ( f ) One check made payable to Abby Studer for alleged liquidated damages in the
                      amount of One Thousand and Four Dollars and Eighteen Cents ($ 1,004.18), for
                      which an IRS Form 1099 shall be issued to Studer; and

                (g) One check made payable to Barkan Meizlish DeRose Wentz Mclnerney Peifer,
                    LLP for attorney fees and costs in the amount of Twenty-Eight Thousand Seven
                    Hundred Twenty-Seven Dollars and Twenty-One Cents ($28 ,727.21), for which an
                    IRS Form 1099 shall be issued to both Plaintiffs and Plaintiffs’ counsel. NCH
                    agrees not to oppose a request by Plaintiffs’ counsel for reasonable attorneys’ fees
                    and litigation costs, not to exceed the amount set forth in this Subparagraph 5(g).
                    Plaintiffs’ counsel agrees that they will not seek attorneys’ fees and reimbursement
                    of litigation costs in excess of this amount . Plaintiffs’ counsel’s attorneys’ fees and
                    litigation costs shall be paid solely from the Gross Settlement Amount. In the event
                    the Court approves lesser amounts for either attorneys’ fees or litigation costs, any
                    such reduction will not affect the remaining terms of the Agreement approved by
                    the Court and such approved terms will remain fully enforceable. The award of
                    attorneys’ fees and costs shall be inclusive of all attorneys’ fees and costs of all
                    Plaintiffs in the Lawsuit . Plaintiffs’ counsel waives all claims to any further
                    attorneys’ fees, costs, and expenses in connection with the Lawsuit. No fees or costs
                    sought or recovered in connection with the Lawsuit and/or this Agreement may be

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                 sought or recovered in any other action. Except as otherwise provided herein, the
                 Parties shall bear responsibility for their own fees, costs, and expenses arising from
                 the Lawsuit.

          NCH will provide the checks referenced in Paragraph 5 to Plaintiffs’ legal counsel within
  20 business days after this Court’s filing of an Order approving the fairness and reasonableness.
  The payments in Paragraph 5 shall not be eligible for any of NCH’s retirement savings plans.
  Plaintiffs agree that the Gross Settlement Amount represents any and all back pay, severance pay,
  wages ( whether overtime or otherwise), bonuses, vacation pay, front pay, damages (whether
  liquidated, compensatory, exemplary, punitive, or otherwise), benefits, attorneys’ fees, costs,
  interest, or other monies to which Plaintiffs may have been entitled to receive or recover in
  connection with Plaintiffs’ employment with NCH. Plaintiffs agree that this is valuable
  consideration which NCH is not otherwise required to provide.

          6.      Tax Consequences. Plaintiffs agree that Plaintiffs are solely and legally responsible
  to pay any and all applicable income taxes on the payments to Plaintiffs or on Plaintiffs’ behalf
  under Paragraph 5 of this Agreement. Plaintiffs further agree to indemnify and hold harmless NCH
  and all other Releasees from any claim or liability for any taxes, penalties, or interest for which
  Plaintiffs are responsible as a result of the payments made to Plaintiffs or on Plaintiffs’ behalves
  pursuant to Paragraph 5 of this Agreement.

         7.     Dismissal of the Lawsuit With Prejudice. Within 5 business days after NCH’s
  payment of the payments set forth in Paragraph 5, Plaintiffs’ counsel shall dismiss the Lawsuit
  with prejudice by filing the Stipulated Dismissal with Prejudice in the form attached hereto as
  Exhibit A .

          8.     No Future Lawsuits. Except as otherwise provided in Paragraph 2 , Plaintiffs agree
  not to knowingly, directly or indirectly, institute, solicit, encourage, advise, or participate in the
  commencement and/or prosecution of any lawsuit, administrative complaint , demand , action, or
  otherwise assert any claims against NCH or any of the Releasees referenced in Paragraph 2 of this
  Agreement for acts or omissions taken or made prior to the execution of this Agreement.

         9.      Additional Representations. Plaintiffs represent and agree that, prior to executing
  this Agreement, Plaintiffs have been afforded a reasonable amount of time to review this
  Agreement, to understand its contents, to knowingly and voluntarily enter into this Agreement ,
  and to be bound by its specific, stated obligations and have been and are being advised to consult
  with an attorney.

          10.     Sufficiency of Consideration. The preceding paragraphs provide Plaintiffs due
  consideration for the promises that Plaintiffs are being asked to enter into in this Agreement.
  Plaintiffs’ signature at the conclusion of this document signifies Plaintiffs’ complete agreement
  with the promises and with the sufficiency of this consideration for Plaintiffs’ and NCH’s mutual
  obligations contained in this Agreement.

         11.     Non-Admission. Plaintiffs understand that this Agreement shall not in any way be
  construed as an admission by NCH or any of the other Releasees of any wrongdoing whatsoever

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  against Plaintiffs, and NCH specifically disclaims any liability for any wrongdoing against
  Plaintiffs, and denies any such wrongdoing, on the part of itself or any of the other Releasees.
  NCH understands that this Agreement shall not in any way be construed as an admission by
  Plaintiffs of any wrongdoing whatsoever against NCH or any of the other Releasees and Plaintiffs
  specifically disclaim any liability for any wrongdoing against NCH or any of the other Releasees
  and denies any such wrongdoing.

          12 .     Beneficiaries. This Agreement shall be binding upon NCH, Plaintiffs, and
  Plaintiffs’ heirs, administrators, representatives, executors, successors, and assigns, and shall inure
  to the benefit of the Releasees and each of them, and to their heirs, administrators, representatives,
  executors, successors, and assigns.

          13.      Severability . Should any provision of this Agreement be declared or be determined
  by any court to be illegal or invalid , the validity of the remaining parts, terms, or provisions shall
  not be affected thereby, and said illegal or invalid part, term, or provision shall be deemed not to
  be a part of this Agreement. The headings of the paragraphs in this Agreement are for convenience
  only and shall not affect its interpretation.

          14.     Entire Agreement. This Agreement sets forth the entire agreement between NCH
  and Plaintiffs and fully supersedes any and all prior agreements or understandings, whether written
  or oral, between such parties pertaining to the subject matter hereof.

          15.     Choice of Law /Venue. This Agreement shall in all respects be interpreted,
  enforced, and governed under the laws of the United States and the State of Ohio. The language
  of all parts of this Agreement shall in all cases be construed as a whole, according to its fair
  meaning, and not strictly for or against any of the parties. The parties agree that any litigation
  related to this Agreement shall be brought in the Court of Common Pleas of Franklin County,
  Ohio, or the United States District Court for the Southern District of Ohio, Eastern Division.

          16.     Acceptance Revocation. Each Plaintiff shall have a period of 10 days from the date
  of delivery of this Agreement to accept this Agreement. Any such acceptance must be in writing
  and received by James G . Petrie, legal counsel for NCH, at Bricker & Eckler, LLP, 100 South
  Third Street, Columbus, Ohio, 43215 ( jpetrie a bi icker . com ) by 4:30 P .M. EST within the
  applicable time period . The Agreement shall not be effective or enforceable until all parties have
  executed the Agreement.

          17.     Counterparts. This Agreement may be executed in two or more counterparts, each
  of which shall be deemed to be an original, but all of which, taken together, shall constitute one
  agreement. Original signatures transmitted by electronic means, such as by PDF, will be effective
  to create such counterparts.

          18 .    Breach and Indemnification . If either Party breaches any of the terms and
  conditions of this Agreement, the non-breaching Party shall be entitled to reasonable attorneys’
  fees and expenses incurred to enforce the terms and conditions contained herein. Plaintiffs agree
  to indemnify and hold NCH and each and all of the other Releasees harmless from and against any
  and all loss, cost, damage, or expense, including, but not limited to, attorneys’ fees incurred by

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  NCH or the other Releasees, or any one of them, arising out of, or in any direct or indirect way
  related to, any breach of this Agreement by Plaintiffs or the fact that any representation made
  herein by Plaintiffs was false when made. This provision and the provisions of Paragraphs 19 and
  20 shall not apply to any judicial or administrative action filed by Plaintiffs to the extent that such
  action is based upon any right which by express terms of law may not under any circumstances be
  waived, released or extinguished.

          19.      Non-Disparagement . Plaintiffs agree that they will not disparage NCH or any of the
  other Releasees and will not make any statement to any third party or on any social media website
  that could reasonably be foreseen to cause harm to the personal or professional reputation of NCH
  or any of the other Releasees. This non-disparagement clause shall not apply to statements made
  under oath by Plaintiffs if compelled to testify pursuant to lawful subpoena or court order, or as
  necessary to enforce the terms of this Agreement. NCH will instruct Eric Butter, PhD, David
  Michalec, PhD, and Carrie Murphy, PhD to refrain from discussing the Lawsuit or disparaging
  Plaintiffs for asserting legal claims against NCH.

          20.     Confidentiality. Plaintiffs shall keep the terms and facts of this Agreement
  completely confidential. Plaintiffs acknowledge that Plaintiffs have not disclosed, and shall not
  hereafter disclose, any information concerning this Agreement to anyone. It is understood that this
  Agreement shall be subject to exceptions for, and hence not apply to, Plaintiffs revealing the terms
  of this Agreement to Plaintiffs’ attorneys, financial advisors, or immediate family on the same
  conditions of confidentiality , as otherwise required by applicable law or court order, or in order to
  enforce the terms of this Agreement.

        21 .    Non-Interference. Nothing in this Agreement is intended to or shall interfere
  with Plaintiffs’ right to participate in a proceeding with any federal, state, or local
  government agency enforcing employment laws, nor shall this Agreement prohibit Plaintiffs
  from cooperating with any such agency in its investigation .




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            This   Agreement       was issued to Plaintiffs’ counsel, Robert DeRose
  ( bderose qibarkanmeizlish . coi n ) on August 16 , 2021 via email by NCH ’ s counsel , Jim Petrie
                                 '




  ( jpetrieffl bncker .com ).

NATALIE MORRIS                                                 ONWIDE CHILDREN’S HOSPITAL

                               09/02/2021
                                                                                            7 / g/ 20* l
Natalie Morris                 Date                   By:                             ^
                                                                                    Date
                                                      Title:                                           oer~
SEAN HANNON

                   mm          09/02/ 2021

Sean Hannon                    Date


ABBY STUDER

                               09/02/2021

Abby Studer                    Date




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                                     Exhibit A




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 Natalie Morris, et al.,                         :       Case No. 2:20-cv-03194
                                                 :
                 Plaintiff,                      :       Judge Sarah D. Morrison
                                                 :
         v.                                      :       Magistrate Judge Kimberly A. Jolson
                                                 :
 Nationwide Children’s Hospital,                 :
                                                 :
                 Defendant.                      :

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Now come the parties, by and through their undersigned counsel, and pursuant to Fed. R.

 Civ. P. 41(a)(1)(A)(ii), hereby stipulate to the dismissal of all of Plaintiffs’ claims asserted against

 Defendant in the above-captioned litigation with prejudice as to Plaintiff Morris, Plaintiff Studer,

 and Plaintiff Hannon.

  /s/Robert E. DeRose                                    /s/ James G. Petrie

  Robert E. DeRose (0055214)                             James G. Petrie (0059446)
  Trial Attorney for Plaintiffs                          Trial Attorney
  BARKAN MEIZLISH DEROSE                                 Jill K. Bigler (0083789)
  WENTZ MCINERNEY PEIFER, LLP                            EPSTEIN, BECKER & GREEN, P.C.
  4200 Regent Street, Suite 210                          375 North Front Street, Suite 325
  Columbus, OH 43219                                     Columbus, Ohio 43215
  Phone: (614) 221-4221                                  Telephone: (614) 872-2500
  Facsimile: (614) 744-2300                              Facsimile: (614) 633-1713
  bderose@barkanmeizlish.com                             jpetrie@egblaw.com
  ATTORNEY FOR PLAINTIFF                                 jbigler@egblaw.com
                                                         ATTORNEYS FOR DEFENDANT




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                    This document was signed by:
                                       Natalie Morris




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 IP Address      108.92.71.191
                 BE5E2A4C003841B57 A 5406938514593D                 VINESIGN .COM
Confirmation     89ECE 30091EF489BA7B491DD1780C348
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                   This document was signed by:
                                       Sean Hannon




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(Q




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                D334E567D4010FF43479AB91DD8DC8CA                   VINESIGN .COM
Confirmation    04A9DA1C5974770EB60995567034E5D8
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                   This document was signed by:
                                       Abby Studer




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                A5F6590DC7 A7D486ADECC8D0B20283D2                  VINESIGN.COM
Confirmation    7AEA7C1DC9342A6334F0B05D12DFD86B
